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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                  AKRON DIVISION

 DANIELA POULTON                                  Civil Case No.
 5171 Beckett Ridge
 Stow, OH 44224
                                                  COMPLAINT FOR DAMAGES
 and
                                                  JURY DEMAND ENDORSED HEREON
 CHARLES A. POULTON
 5171 Beckett Ridge
 Stow, OH 44224

                        Plaintiffs,

        v.

 SPECIALIZED LOAN SERVICING,
 LLC,
 c/o United Agent Group Inc.
 119 E. Court Street
 Cincinnati, OH 45202

                        Defendant.

       Plaintiffs Daniela Poulton and Charles A. Poulton through counsel, states as follows for

their Complaint for Damages (the “Complaint”) against Defendant Specialized Loan Servicing,

LLC:

                          PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiffs Daniela Poulton (“Daniela”) and Charles A. Poulton (“Charles”)

(collectively, “Plaintiffs” or the “Poultons”) are the owners of the real property and improvements

located thereupon located at and commonly known as 5171 Beckett Ridge, Stow, OH 44224 (the

“Home”).




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        2.      Plaintiffs currently occupy and maintain the Home as their primary, principal

residence and have maintained the Home as such for all times relevant to the causes of action

pleaded in this Complaint.

        3.      On August 26, 2005, the Poultons executed a promissory note in the amount of

$81,266.00 (the “Note”) and executed a mortgage on the Home purportedly securing the Note (the

“Mortgage”) (collectively, the “Loan”). See, a copy of the Loan documents, attached as Exhibit

1.

        4.      Defendant Specialized Loan Servicing, LLC (“Defendant” or “SLS”) is a foreign

limited liability company registered to do business in the State of Ohio, with its corporate

headquarters located at 1 Mortgage Way, Mount Laurel, NJ 08054.

        5.      SLS is the current servicer of the Loan and has serviced the Loan at all times

relevant to the causes of action pleaded in this Complaint.

        6.      SLS services the Loan on behalf of the purported assignee of the Loan, non-Party

UMB Bank, National Association, legal title trustee for LVS Title Trust 2018-1 (“UMB”) and has

acted with its authority or otherwise on its behalf in relation to the Loan at all times relevant to the

causes of action pleaded in this Complaint.

        7.      SLS obtained servicing rights to the Loan from non-party PNC Bank effective May

5, 2012. See, a copy of Notice of Assignment, Sale, or Transfer of Servicing Rights dated May 8,

2012, attached as Exhibit 2.

        8.      Per SLS’s records, the Loan was in default and past due for the March 1, 2012

payment, and any payments due thereafter, at the time SLS obtained servicing rights to the Loan

on May 5, 2012.




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        9.       Jurisdiction is conferred by 28 U.S.C. § 1331 as this action primarily arises under

the Dodd-Frank Wall Street Reform and Consumer Protection Act (DFA), the Real Estate

Settlement Procedures Act, 12 U.S.C. §§ 2601, et seq. (RESPA) and the Fair Debt Collection

Practices Act (FDCPA), 15 U.S.C. §§ 1692, et seq.

        10.      This Court has supplemental jurisdiction to hear any state law statutory and

common law claims pleaded, infra, or that otherwise may arise pursuant to 28 U.S.C. § 1367.

        11.      Venue is appropriate within this District pursuant to 28 U.S.C. § 1391(b) as: (1) A

substantial part of the events or omissions giving rise to the claims asserted herein occurred within

this District; and, (2) the Home, the property that is the subject of the action, is located within this

District.

                             SUMMARY OF CAUSES OF ACTION

        12.      Plaintiffs file this action in substantial part to enforce regulations promulgated by

the Consumer Financial Protection Bureau (CFPB) and implemented pursuant to 12 U.S.C. §

2605(f) that became effective on January 10, 2014, specifically, 12 C.F.R. § 1024.1, et seq.

(“Regulation X”).

        13.      In January 2013, the CFPB issued final rules concerning mortgage markets in the

United States, pursuant to the DFA, Public Law No. 111-203, 124 Stat. 1376 (2010).

        14.      Specifically, on January 17, 2013, the CFPB issued the Real Estate Settlement

Procedures Act Mortgage Servicing Final Rules, 78 F.R. 10695 (Regulation X) (February 14,

2013) which became effective on January 10, 2014.

        15.      Mortgage servicers are prohibited from failing “to comply with any other obligation

found by the [CFPB], by regulation, to be appropriate to carry out the consumer protection

purposes of [RESPA].” 12 U.S.C. § 2605(k)(1)(E).



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       16.     Mortgage servicers are prohibited from failing “to take timely action to respond to

a borrower’s requests to correct errors relating to allocation of payments, final balances for

purposes of paying off the loan, or avoiding foreclosure, or other standard servicer’s duties[1].” 12

U.S.C. § 2605(k)(1)(C).

       17.     The Loan is a “federally related mortgage loan” as said term is defined by 12 C.F.R.

§ 1024.2(b).

       18.     SLS is subject to the aforesaid regulations and does not qualify for the exemption

for “small servicers”, as defined in 12 C.F.R. § 1026.41(e)(4).

       19.     SLS is not a “qualified lender”, as defined in 12 C.F.R. § 617.700.

       20.     The Poultons assert claim for relief against SLS for violations of the specific rules

under RESPA and Regulation X, as set forth, infra.

       21.     The Poultons have a private right of action under RESPA pursuant to 12 U.S.C. §

2605(f), for the violations claimed, infra, and such actions provide for remedies including actual

damages, statutory damages, and attorneys’ fees and costs.

       22.     The Poultons are each a “consumer”, as that term is defined by 15 U.S.C. §

1692a(3), and a person affected by a violation of the FDCPA, and other violations, with standing

to bring this claim under 15 U.S.C. § 1692.


1
  “The Bureau believes that standard servicer duties are those typically undertaken by servicers in
the ordinary course of business. Such duties include not only the obligations that are specifically
identified in section 6(k)(1)(C) of RESPA, but also those duties that are defined as ‘‘servicing’’
by RESPA, as implemented by this rule, as well as duties customarily undertaken by servicers to
investors and consumers in connection with the servicing of a mortgage loan. These standard
servicer duties are not limited to duties that constitute ‘‘servicing,’’ as defined in this rule, and
include, for example, duties to comply with investor agreements and servicing program guides, to
advance payments to investors, to process and pursue mortgage insurance claims, to monitor
coverage for insurance (e.g., hazard insurance), to monitor tax delinquencies, to respond to
borrowers regarding mortgage loan problems, to report data on loan performance to investors and
guarantors, and to work with investors and borrowers on options to mitigate losses for defaulted
mortgage loans.” 78 Fed. Reg. 10696, 10739 (emphasis added).
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       23.     SLS is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as SLS began

collecting on the Loan when the Loan was past due and in default.

       24.     The Loan is a “debt” as that term is defined by the FDCPA as the underlying debt

sought to be collected by SLS was a residential mortgage the primary purpose of which was for

personal, family, or household use.

       25.     The Poultons have a private right of action under the FDCPA pursuant to 15 U.S.C.

§ 1692k, for the violations claimed, infra, and such actions provide for remedies including actual

damages, statutory damages, and attorneys’ fees and costs.

       26.     The Poultons further assert a state law statutory claim for violations of the

Residential Mortgage Lending Act, R.C. 1322.01, et seq. (RMLA).

       27.     The Poultons are each a “buyer” as defined by R.C.1322.01(H), as each is an

individual whose mortgage is serviced by a mortgage servicer, SLS.

       28.     SLS is a mortgage servicer under the RMLA as it “holds the servicing rights,

records mortgage payments on its books, or performs other functions to carry out the mortgage

holder’s obligations or rights under the mortgage agreement.” R.C. 1322.01(AA).

       29.     SLS is subject to the requirements of the RMLA and does not qualify for the

exemptions listed in R.C. 1322.04.

                                  STATEMENT OF FACTS

                      (Loan Modification and the Maturity of the Loan)

       30.     In 2009, the Poultons suffered from a financial setback and sought loss mitigation

assistance from non-party E*Trade Financial, the servicer of the Loan at the time.




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       31.        In November 2009, the Poultons executed and returned a “Modification

Acceptance Letter” concerning the Loan (the “Modification”) along with the first modified

payment due thereunder. See, a copy of the Modification, attached as Exhibit 3.

       32.        The terms of the Modification were as follows:

             •    The new interest rate will be 3.25% for 24 months.
             •    The first modified payment will be due on November 2 7, 2009 in the amount of
                  $646.46.
             •    All currently outstanding late fees will be waived
             •    Any and all other terms and conditions of the above loan not specifically
                  mentioned in this letter will remain unchanged.
             •    All funds collected for the loan modification are non-refundable and will be
                  applied to your account balance.

See, Exhibit 3.

       33.        Neither the terms of the Modification nor E*Trade Financial informed the Poultons

that entering into the Modification would have any negative impact or consequences upon the

amortization of the Loan nor that there would be any balloon payment due and owing on the Loan

upon the maturity of the Loan.

       34.        On or about November 30, 2009, E*Trade Financial, through Specialist Misty

Bray, prepared a worksheet titled “Loss Mitigation Modifications” commemorating,

memorializing, and delineating the differences in the terms, interest rate, and amounts owed under

the terms of the Loan and as modified through the Modification (the “Worksheet”). See, a copy of

the Worksheet, attached as Exhibit 4.

       35.        Per the Worksheet, once modified:

                  a. The interest rate for the Loan would change from 7.75% to 3.25%;

                  b. The due date for the Loan would change from September 1, 2009 to January 1,

                     2010;

                  c. The remaining term of the Loan would remain at 139 months;


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                  d. The monthly payment amount would change from $764.94 to $646.46;

                  e. Late fees of $1114.72 would be waived;

                  f. Interest payments of $561.39 were waived; and,

                  g. Any balloon payment owing on the Loan would remain at $0.00.

See, Exhibit 4.

        36.       The Poultons continued to remit their monthly payments under the terms of the

Loan as modified per the Modification to E*Trade Financial, then PNC Bank, and finally SLS as

instructed by each such entity through the periodic billing statements related to the Loan.

        37.       After remitting all monthly payments of principal and interest claimed due and

owing on the Loan through the end of the Loan’s term, upon maturity of the Loan—on September

1, 2020—SLS claimed the Borrowers still owed $27,314.76 in unpaid principal, payable as a

balloon payment.

        38.       Had the Poultons been advised that through the Modification they would only

reduce their monthly payment by approximately $100.00, but be required to remit a balloon

payment upon maturity in excess of $27,000.00, the Poultons would not have entered into the

Modification.

        39.       Had the amortization for the Loan not been altered or negatively impacted through

the implementation of the Modification without notification, the Loan would have been paid in

full as of the maturity date.

        40.       Upon information and belief, the Modification was not properly implemented

and/or the Poultons’ payments thereunder were not properly applied to the Loan as modified

through the stated terms of the Modification.




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       41.     The Poultons made numerous attempts to contact SLS to ascertain why there was a

balloon payment due and owing on the Loan and to have SLS rectify and correct any errors causing

such a balloon payment to exist, but such attempts proved fruitless with SLS merely claiming that

the amounts were owed.

(Attempts to Obtain Information to Investigate and Attempts to Have SLS Correct Errors)

       42.     Unable to remit the funds for balloon payment being demanded as due and owing

by SLS, the Poultons retained counsel to assist with obtaining information as to the Loan,

researching potential errors on the part of SLS as to the Loan, and to seek to have SLS correct any

such errors related to the Loan.

       43.     On or about August 11, 2021, the Poultons, through counsel, sent correspondence

captioned “Request for Information Pursuant to 12 C.F.R. § 1024.36” to SLS via certified U.S.

Mail [Tracking No. 70210350000161131227] (“RFI #1”) at the address designated by SLS for

borrowers to send notices of error pursuant to 12 C.F.R. § 1024.35 and requests for information

pursuant to 12 C.F.R. § 1024.36 (the “Designated Address”). See, a copy of RFI #1 along with

tracking information from the website for the United States Postal Service (USPS)

(www.usps.com), attached as Exhibit 5.

       44.     Through the RFI, the Poultons requested information related to the servicing of the

Loan including, inter alia, a transaction history for the Loan, servicing notes for the Loan, and

correspondence concerning loss mitigation attempts as to the Loan. See, Exhibit 5.

       45.     SLS received RFI #1 at the Designated Address on or before August 16, 2021. See,

Exhibit 5.

       46.      SLS sent correspondence in response to RFI #1 dated August 23, 2021 (the “RFI

Response”). See, a copy of the RFI Response, without enclosures, attached as Exhibit 6.



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       47.        Through the Response, SLS failed to provide a full transaction history for the Loan,

as requested, instead only providing a history containing transactions for the loan dating back to

May 21, 2012.

       48.        As the Poultons had, on numerous occasions, expressed concern about the

accounting of the Loan since the Modification, SLS knew or should have known that a transaction

history dating back at least as far as the implementation of the Modification was of utmost

importance.

       49.        Had SLS provided a full accounting of the Loan as requested through RFI #1, the

Poultons and their counsel may have been more readily able to determine why there was an unpaid

principal balance of $27,314.76 owed upon the maturity of the Loan and what specific errors

created the untenable situation in which the Poultons find themselves.

       50.        On or about August 11, 2021, the Poultons, through counsel, sent correspondence

captioned “Notice of error pursuant to 12 C.F.R. §§ 1024.35(b)(5) and/or (11) for failing to

properly servicing the loan so as to create an undisclosed balloon payment and for otherwise

imposing an undisclosed balloon payment; notice of errors pursuant to 12 C.F.R. §§

1024.35(b)(11) for sending incorrect periodic billing statements for the loan” to SLS via certified

U.S. Mail [Tracking No. 70211970000099473111] (“NOE #1”) at the Designated Address. See, a

copy of NOE #1 along with tracking information from the website for the USPS (www.usps.com),

attached as Exhibit 7.

       51.        SLS received NOE #1 at the Designated Address on or before November 8, 2021.

See, Exhibit 7.

       52.        Through NOE #1, the Poultons alleged that SLS committed multiple errors in

relation to Loan, including, but not limited to:



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                  a. Improperly servicing the Loan in a manner so as to create an unwarranted

                     balloon payment, misapplying payments 2, or otherwise affecting the

                     amortization of the Loan through the Modification in an improper manner; and,

                  b. Sending incorrect periodic billing statements each month since the

                     implementation of the Modification in that SLS had claimed incorrect amounts

                     due and owing for principal and interest each month which could have

                     potentially necessitated or otherwise caused the existence of the balloon

                     payment.

See, Exhibit 7.

       53.        SLS sent correspondence dated December 6, 2021 purportedly in response to NOE

#1 (the “NOE Response”). See, a copy of the NOE Response, attached as Exhibit 8.

       54.        SLS, through the NOE Response, stated that no errors occurred because:

       SLS records [sic] indicate that the remaining balance due on the above referenced
       second mortgage loan account is not due to any balloon payment [emphasis
       added]. Per the terms of original Note [sic], in Section 3 “Payments” it states in
       part:
       “If on September 1, 2020 I still owe amounts under the note, I will pay all those
       amounts, in full, on that date.” [Emphasis in original.]
       The 2009 loan Modification executed with prior servicer E-Trade states in part:
       “Any and all other terms and conditions of the above loan not specifically
       mentioned in this letter will remain unchanged.” [Emphasis in original.]

See, Exhibit 8.

       55.        That is, through the NOE Response, SLS wholly failed to address the errors alleged

through NOE #1 that the Modification or the implementation thereof improperly affected the


2
  Through NOE #1, the Poultons specifically note that, had the Loan as modified been properly
amortized and the amounts remitted under the Loan properly applied, “[u]pon the end of the Loan’s
term, the [Poultons’] final payment should have consisted nearly entirely of amounts due and
owing to principal. Rather, the [Poultons’] final payment consisted of $467.04 going towards
principal and $179.42 going towards interest.” See, Exhibit 7.

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amortization of the Loan which resulted in the principal of the Loan not being paid off in full as

well as any of the errors concerning the periodic billing statements. See, Exhibits 7 and 8.

       56.     Instead, SLS merely relied upon a clause in the Note stating that all unpaid amounts

under the Loan are due and payable upon the maturity of the Loan without any consideration as to

whether there being an unpaid principal balance of $27,314.76 was proper. See, Exhibit 8.

       57.     Further, it is confusing that SLS through the NOE Response claims that the

remaining balance of unpaid principal “is not due to any balloon payment” the payment of the

remaining unpaid principal balance is, in and of itself, a balloon payment. See, Exhibit 8.

       58.     Any reasonable investigation into the errors alleged through NOE #1 would have

resulted in SLS having fully responded to all of the errors alleged concerning the existence and

amount of the unpaid principal balance of $27,314.76 claimed due and owing rather than whether

unpaid amounts upon maturity are to be paid per the terms of the Loan.

       59.     On or about February 8, 2022, the Poultons, through counsel, sent a notice of error

captioned “Notice of error pursuant to 12 C.F.R. § 1024.35(b)(11) for failure to properly respond

to a request for information in violation of 12 C.F.R. § 1024.36(d) and 12 U.S.C. § 2605(k)(1)(E);

request for copies of documents pursuant to 12 C.F.R. § 1024.35(e)(4); notice of error pursuant to

12 C.F.R. §§ 1024.35(b)(5) and/or (11) for failing to properly service the loan so as to create an

undisclosed balloon payment and for otherwise imposing an undisclosed balloon payment; notice

of error pursuant to 12 C.F.R. § 1024.35(b)(11) for failing to properly respond to a notice of error

as required by 12 C.F.R. § 1024.35” (“NOE #2”) to SLS at the Designated Address via certified

U.S. mail [Tracking No. 70201290000141258576]. See, a copy of NOE #2, without enclosures,

along with tracking information from the website for the USPS (www.usps.com), attached as

Exhibit 9.



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       60.        Through NOE #2, the Poultons alleged that SLS committed multiple errors in

relation to Loan, including, but not limited to:

                  a. Failing to properly respond to RFI #1;

                  b. Failing to properly respond to NOE #1;

                  c. Reiterating the errors previously alleged through NOE #1, but including

                     additional information not previously provided with NOE #1 that is likely to

                     change SLS’s determination as to whether any errors occurred.

See, Exhibit 9.

       61.        Through NOE #2, the Poultons further requested that SLS provide copies of any

documentation relied upon in SLS’s investigation into NOE #1 pursuant to 12 C.F.R. §

1024.35(e)(4). See, Exhibit 9.

              IMPACT UPON AND DAMAGES SUFFERED BY PLAINTIFF

       62.        SLS’s actions in, inter alia, improperly servicing the Loan so as to create an

undisclosed balloon payment in excess of $27,314.76 upon the maturity of the Loan which the

Poultons cannot reasonably afford has caused the Poultons to become delinquent on the Loan and

suffer credit diminution.

       63.        Due to the manufactured default resulting from SLS’s actions, SLS has further

issued notices of its intent to foreclose to the Poultons, threatening foreclosure if the Poultons fail

to pay for the improper, undisclosed balloon payment.

       64.        SLS’s improper actions caused the Poultons to suffer from actual and proximate

damages including, but not limited to:

                  a. Legal fees, costs, and expenses to submit RFI #1, NOE #1, and NOE #2, to SLS

                     in a good faith attempt to obtain information as to the Loan and to otherwise



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                  attempt to amicably resolve this matter or to have SLS mitigate the harm caused

                  to the Poultons to which the Poultons did not receive a proper or adequate

                  response;

              b. Unwarranted harm to their credit rating and a significant delay in the

                  rehabilitation of their credit for failing to remit payment of the unwarranted,

                  improper and undisclosed balloon payment SLS has demanded upon the

                  maturation of the Loan for which the Poultons have not received proper redress

                  from SLS;

              c. Improper fees and charges imposed on the Loan since the maturation of the

                  Loan including late fees and other default servicing related fees for which the

                  Poultons is personally obligated or which otherwise negatively impacts any

                  equity in the Home to which they are entitled; and,

              d. Severe emotional distress driven by this unnecessary delinquency and by fear

                  that this unnecessary, manufactured default would be the start of a slippery

                  slope leading to a foreclosure of their Home unless the Poultons pay amounts

                  and fees which are not warranted which has resulted in frustration, loss of sleep,

                  anxiety, depression, embarrassment, and other significant emotional distress.

       PATTERN AND PRACTICE OF REGULATION X VIOLATIONS BY SLS

       65.    SLS’s actions are part of a pattern and practice of behavior in violation of the

Poultons’ rights and in abdication and contravention of SLS’s obligations under the mortgage

servicing regulations set forth in Regulation X of RESPA. SLS’s actions are part of a pattern and

practice of behavior in violation of the Poultons’ rights and in abdication and contravention of

SLS’s obligations under the mortgage servicing regulations set forth in Regulation X of RESPA.



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       66.     As of the filing of this Complaint, consumers nationwide have lodged One

Thousand Sixty Seven (1,067) consumer complaints with the CFPB against SLS, specifically

concerning the issue identified on the CFPB’s consumer complaint database as “loan servicing,

payments, escrow account” related to mortgages. Each such complaint is filed and cataloged in the

CFPB’s publicly accessible online database which can be accessed at the following link:

http://www.consumerfinance.gov/data-research/consumer-complaints/.

       67.     As of the filing of this Complaint, consumers nationwide have lodged One

Thousand Five Hundred Fourteen (1,514) consumer complaints with the CFPB against SLS,

specifically concerning the issue identified on the CFPB’s consumer complaint database as “loan

modification, collection, foreclosure” related to mortgages. Each such complaint is filed and

cataloged in the CFPB’s publicly accessible online database which can be accessed at the

following link: http://www.consumerfinance.gov/data-research/consumer-complaints/.

       68.     The Poultons have reviewed the CFPB’s consumer complaint database and have

identified allegations of similar conduct and alleged RESPA violations by SLS from other

consumers. The Poultons have specifically reviewed the narratives from the ten (10) consumer

complaints attached hereto and identified as Composite Exhibit 10. The date, details, and a

narrative disclosed by the consumer is set forth in each complaint. The complaints evidence

conduct showing that SLS has engaged in a pattern or practice of violating RESPA with respect to

other borrowers.

                                 COUNT ONE:
             VIOLATIONS OF 12 C.F.R. § 1024.36(d) AND 12 U.S.C. § 2605(k)

                             (Failure to properly respond to RFI #1)

       69.     The Poultons restate and incorporate all of the statements and allegations contained

in paragraphs 1 through 68 in their entirety, as if fully rewritten herein.

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       70.     12 C.F.R. § 1024.36(a) provides, in relevant part, that a request for information may

consist of “any written request for information from a borrower that includes the name of the

borrower, information that enables the servicer to identify the borrower’s mortgage loan account,

and states the information the borrower is requesting with respect to the borrower's mortgage loan.”

       71.     Comment 1 of the Official Interpretations of the CFPB to 12 C.F.R. § 1024.36(a)

provides that “[a]n information request is submitted by a borrower if the information request is

submitted by an agent of the borrower.”

       72.     A servicer must respond to a request for information by:

               (i) Providing the borrower with the requested information and contact
                    information, including a telephone number, for further assistance in
                    writing; or
               (ii) Conducting a reasonable search for the requested information and
                    providing the borrower with a written notification that states that the
                    servicer has determined that the requested information is not available
                    to the servicer, provides the basis for the servicer's determination, and
                    provides contact information, including a telephone number, for further
                    assistance.

12 C.F.R. § 1024.36(d)(1).

       73.     Furthermore, a servicer must properly respond to a request for information within

the following deadlines:

               A servicer must comply with the requirements of paragraph (d)(1) of this
               section:
               (A) Not later than 10 days (excluding legal public holidays, Saturdays, and
                   Sundays) after the servicer receives an information request for the
                   identity of, and address or other relevant contact information for, the
                   owner or assignee of a mortgage loan; and
               (B) For all other requests for information, not later than 30 days (excluding
                   legal public holidays, Saturdays, and Sundays) after the servicer
                   receives the information request.

12 C.F.R. § 1024.36(d)(2)(i); see also 12 U.S.C. §§ 2605(e)(2) and 12605(k)(1)(E).




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       74.     RFI #1 is a request for information as defined by 12 C.F.R. § 1024.36(a) as it

contains the Poultons’ names, loan number, property address, and requests information related to

the Loan, specifically, inter alia, a transaction history for the Loan, servicing notes for the Loan,

and correspondence concerning loss mitigation attempts as to the Loan. See, Exhibit 5.

       75.     The Poultons sent RFI #1 to the Designated Address and SLS received the same at

such address on or before August 16, 2021. See, Exhibit 5.

       76.     SLS was required to provide a written response to RFI #1 within thirty (30) days of

August 16, 2021 excluding legal public holidays, Saturdays, and Sundays. See, Exhibit 5; 12

C.F.R. § 1024.36(d)(2)(i)(B).

       77.     SLS sent the RFI Response in response to RFI #1 on or about August 23, 2021. See,

Exhibit 6.

       78.     To date, neither the Poultons nor their counsel have received any further

correspondence in response to RFI #1.

       79.     Through the Response, SLS failed to provide a full transaction history for the Loan,

as requested, instead only providing a history containing transactions for the loan dating back to

May 21, 2012. See, Exhibit 6.

       80.     Any statement contained in the RFI Response that SLS reasonably determined that

one of the exceptions delineated in 12 C.F.R. § 1024.36(f)(1) absolved SLS from its obligation to

respond to RFI #1 is clearly inappropriate and any such determination was clearly unreasonable as

a request for an accounting history for the Loan, when such had been challenged on numerous

occasions, does not seek an unreasonable volume of documents, does not seek confidential or

proprietary information, nor is it unduly burdensome. See, Exhibit 5.




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       81.     As the Poultons had, on numerous occasions, expressed concern about the

accounting of the Loan since the Modification, SLS knew or should have known that a transaction

history dating back at least as far as the implementation of the Modification was of utmost

importance.

       82.     Had SLS provided a full accounting of the Loan as requested through RFI #1, the

Poultons and their counsel may have been more readily able to determine why there was an unpaid

principal balance of $27,314.76 owed upon the maturity of the Loan and what specific errors

created the untenable situation in which the Poultons find themselves.

       83.     SLS’s failure to provide proper written response to RFI #4/NOE #1 constitutes a

violation of 12 C.F.R. § 1024.36(d) and 12 U.S.C. § 2605(k) and has caused the Poultons to suffer

actual damages as detailed, supra, including, but not limited to legal fees, expenses, and costs to

prepare and send NOE #2 to SLS at the Designated Address which would not have been necessary

but for SLS’S failure to properly respond to RFI #1. See, Exhibit 9.

       84.     SLS’s actions are part of a pattern and practice of behavior in conscious disregard

for the Poultons’ rights and in abdication of SLS’s obligations under RESPA and Regulation X.

       85.     SLS’s conduct as pleaded, supra, shows a conscious disregard for the Poultons’

rights and SLS’s obligations under RESPA and Regulation X.

       86.     As a result of SLS’s actions, SLS is liable to the Poultons for statutory damages

and actual damages as further described, supra. 12 U.S.C. § 2605(f)(1).

       87.     Additionally, the Poultons request reasonable attorneys’ fees and costs incurred in

connection with this action. 12 U.S.C. § 2605(f)(3).

                                COUNT TWO:
       VIOLATIONS OF 12 C.F.R. § 1024.35(e) AND 12 U.S.C. §§ 2605(e) AND (k)

                           (Failure to properly respond to NOE #1)

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       88.       The Poultons restate and incorporate all of the statements and allegations contained

in paragraphs 1 through 68 in their entirety, as if fully rewritten herein.

       89.       “A servicer shall comply with the requirements of this section for any written notice

from the borrower that asserts an error and that includes the name of the borrower, information

that enables the servicer to identify the borrower’s mortgage loan account, and the error the

borrower believes has occurred.” 12 C.F.R. § 1024.35(a)

       90.       Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. § 1024.35(a)

provides that “[a] notice of error is submitted by a borrower if the notice of error is submitted by

an agent of the borrower.” Supplement I to Part 1024.

       91.       A servicer must respond to a notice of error by either:

                 (A) Correcting the error or errors identified by the borrower and providing
                     the borrower with a written notification of the correction, the effective
                     date of the correction, and contact information, including a telephone
                     number, for further assistance; or
                 (B) Conducting a reasonable investigation and providing the borrower with
                     a written notification that includes a statement that the servicer has
                     determined that no error occurred, a statement of the reason or reasons
                     for this determination, a statement of the borrower’s right to request
                     documents relied upon by the servicer in reaching its determination,
                     information regarding how the borrower can request such documents,
                     and contact information, including a telephone number, for further
                     assistance.

12 C.F.R. § 1024.35(e)(1)(i); see also 12 U.S.C. § 2605(e)(2)(B).

       92.       A servicer must respond to a notice of error in compliance with 12 C.F.R. §

1024.35(e)(1):

                 (A) Not later than seven days (excluding legal public holidays, Saturdays,
                     and Sundays) after the servicer receives the notice of error for errors
                     asserted under paragraph (b)(6) of this section.
                 (B) Prior to the date of a foreclosure sale or within 30 days (excluding legal
                     public holidays, Saturdays, and Sundays) after the servicer receives the



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                      notice of error, whichever is earlier, for errors asserted under paragraphs
                      (b)(9) and (10) of this section.
                  (C) For all other asserted errors, not later than 30 days (excluding legal
                      public holidays, Saturdays, and Sundays) after the servicer receives the
                      applicable notice of error.

12 C.F.R. § 1024.35(e)(3)(i); see also 12 U.S.C. § 2605(e)(2).

       93.        “A servicer of a federally related mortgage shall not...fail to take timely action to

respond to a borrower’s requests to correct errors relating to allocation of payments, final balances

for purposes of paying off the loan, or avoiding foreclosure, or other standard servicer’s duties.”

12 U.S.C. § 2605(k)(1)(C).

       94.        A servicer of a federally related mortgage shall not “fail to comply with any other

obligation found by the Bureau of Consumer Financial Protection, by regulation, to be appropriate

to carry out the consumer protection purposes of this chapter.” 12 U.S.C. § 2605(k)(1)(E).

       95.        NOE #1 constitutes a notice of error as defined by 12 C.F.R. § 1024.35(a) as it is,

in part, a “written notice from the borrower that asserts an error and that includes the name of the

borrower, information that enables the servicer to identify the borrower’s mortgage loan account,

and the error the borrower believes has occurred.” See, Exhibit 7.

       96.        SLS received NOE #1 at the Designated Address on or before November 8, 2021.

See, Exhibit 7.

       97.        Through NOE #1, the Poultons alleged that SLS committed multiple errors in

relation to Loan, including, but not limited to:

                  a. Improperly servicing the Loan in a manner so as to create an unwarranted

                     balloon payment, misapplying payments, or otherwise affecting the

                     amortization of the Loan through the Modification in an improper manner; and,




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                  b. Sending incorrect periodic billing statements each month since the

                     implementation of the Modification in that SLS had claimed incorrect amounts

                     due and owing for principal and interest each month which could have

                     potentially necessitated or otherwise caused the existence of the balloon

                     payment.

See, Exhibit 7.

       98.        SLS was required to send a written response to NOE #1 meeting the requirements

of 12 C.F.R. § 1024.35(e) within thirty (30) days of receipt, excluding legal public holidays,

Saturdays, and Sundays of November 8, 2021. See, 12 C.F.R. § 1024.35(e)(3)(i)(C).

       99.        SLS sent the NOE Response in response to NOE #1 on or about December 6, 2021.

See, Exhibit 8.

       100.       To date, neither the Poultons nor their counsel have received any further

correspondence in response to NOE #1.

       101.       SLS, through the NOE Response, failed to fulfill its obligations as to 12 C.F.R. §

1024.35(e)(1)(i)(A) as SLS did not admit that any errors occurred as alleged in NOE #1. See,

Exhibits 7 and 8.

       102.       SLS, through the NOE Response, did not fulfill its obligations as to 12 C.F.R. §

1024.35(e)(1)(i)(B), as it is clear from the face of NOE #1 and the NOE Response that SLS did

not perform a reasonable investigation into the errors alleged through \NOE #1 prior to

determining that no such errors occurred. See, Exhibits 7 and 8.

       103.       Specifically, SLS through the NOE Response, wholly failed to address the errors

alleged through NOE #1 that the Modification or the implementation thereof improperly affected




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the amortization of the Loan which resulted in the principal of the Loan not being paid off in full

as well as any of the errors concerning the periodic billing statements. See, Exhibits 7 and 8.

       104.    Instead, SLS merely relied upon a clause in the Note stating that all unpaid amounts

under the Loan are due and payable upon the maturity of the Loan without any consideration as to

whether there being an unpaid principal balance of $27,314.76 was proper. See, Exhibit 8.

       105.    Further, it is confusing that SLS through the NOE Response claims that the

remaining balance of unpaid principal “is not due to any balloon payment” the payment of the

remaining unpaid principal balance is, in and of itself, a balloon payment. See, Exhibit 8.

       106.    Any reasonable investigation into the errors alleged through NOE #1 would have

resulted in SLS having fully responded to all of the errors alleged concerning the existence and

amount of the unpaid principal balance of $27,314.76 claimed due and owing rather than whether

unpaid amounts upon maturity are to be paid per the terms of the Loan.

       107.    SLS’s failure to properly respond to NOE #1 by failing to correct its errors or to

otherwise perform a reasonable investigation into and otherwise properly respond to the errors

alleged through NOE #1 constitute violations of 12 C.F.R. § 1024.35(e) and 12 U.S.C. §§ 2605(e)

and (k) and, as a result, the Poultons have suffered actual damages as detailed, supra, including,

but not limited to legal fees, expenses, and costs to prepare and send NOE #2 to SLS at the

Designated Address which would not have been necessary but for SLS’s failure to properly

respond to NOE #1. See, Exhibits 8 and 9.

       108.    SLS’s actions are part of a pattern and practice of behavior in conscious disregard

for the Poultons’ rights and in abdication of SLS’s obligations under RESPA and Regulation X.

       109.    SLS’s conduct as pleaded, supra, shows a conscious disregard for the Poultons’

rights and SLS’s obligations under RESPA and Regulation X.



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       110.    As a result of SLS’s actions, SLS is liable to the Poultons for statutory damages

and actual damages as further described, supra. 12 U.S.C. § 2605(f)(1).

       111.    Additionally, the Poultons request reasonable attorneys’ fees and costs incurred in

connection with this action. 12 U.S.C. § 2605(f)(3).

                                   COUNT THREE:
                    VIOLATIONS OF THE FDCPA, 15 U.S.C. §§ 1692, et seq.

       112.    The Poultons restate and incorporate all of the statements and allegations contained

in paragraphs 1 through 68 in their entirety, as if fully rewritten herein.

       113.    The Poultons are each a “consumer” as each is a natural person who is obligated or

allegedly obligated to pay the Loan. 15 U.S.C. § 1692a(3).

       114.    The Loan is a “debt” as it is an obligation or alleged obligation of the Poultons’ to

pay money arising out of a transaction primarily for personal, family, or household purposes—the

financing of the Home. 15 U.S.C. § 1692a(5).

       115.    SLS is a “debt collector” because it regularly collects or attempts to collect on the

Loan and other loans owed to creditors, such as UMB. 15 U.S.C. § 1692a(6).

       116.    Per SLS’s records, when SLS acquired the servicing rights to the Loan on or around

May 5, 2012, SLS claimed that the Poultons were in default of their obligations thereunder, past

due and owing for the March 1, 2012 payment, and any payments due thereafter. See, 15 U.S.C. §

1692a(6)(F)(iii).

       117.    The FDCPA prohibits false, deceptive, or misleading representations in connection

with the collection of any debt. 15 U.S.C. § 1692e. The FDCPA provides examples of conduct that

violate the provision, such as prohibiting the use of: (1) False representations of the character,

amount, or legal status of any debt (15 U.S.C. § 1692e(2)(A)); (2) The threat to take any action




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that cannot legally be taken (15 U.S.C. § 1692e(5)); and, (3) False representations or deceptive

means to collect or attempt to collect any debt (15 U.S.C. § 1692e(10)).

       118.    SLS violated 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(5), and 1692e(10), by failing

to properly service the Loan so as to create an improper, unwarranted, and undisclosed balloon

payment in excess of $27,314.76 upon the maturity of the Loan and then falsely representing such

amounts as due and owing thereby manufacturing a default and threatening to initiate foreclosure

proceedings.

       119.    The FDCPA prohibits the use of unfair or unconscionable means to collect or

attempt to collect any debt. 15 U.S.C. § 1692f.

       120.    SLS violated 15 U.S.C. § 1692f through its actions in improperly servicing the Loan

so as to create an improper, unwarranted, and undisclosed balloon payment in excess of $27,314.76

upon the maturity of the Loan, in demanding payment of such amounts, and in manufacturing a

default and threatening to initiate foreclosure proceedings due to the Poultons’ inability to pay

such unwarranted amounts.

       121.    SLS’s actions have caused the Poultons to suffer actual damages, further described,

supra, including but not limited to requiring the Poultons to incur attorneys’ fees and costs related

to the preparation and mailing of RFI #1, NOE #1, and NOE # 3 in order to obtain information

related to the Loan and attempt to have SLS correct its erroneous conduct.

       122.    As a result of SLS’s conduct, the Pultons suffered extreme emotional distress driven

by the fear that SLS’s actions would lead to an unwarranted foreclosure of and the loss of and

eviction from their Home which has resulted in frustration, loss of sleep, anxiety, depression,

embarrassment, and other significant emotional distress.




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        123.    As a result of SLS’s actions, SLS is liable to the Poultons for actual damages and

statutory damages. 15 U.S.C. § 1692k(a)(1).

        124.    Additionally, the Poultons request reasonable attorneys’ fees and costs incurred in

connection with this action. 15 U.S.C. § 1692k(a)(3).

                                  COUNT FOUR:
                     VIOLATIONS OF THE RMLA, R.C. 1322.01, et seq.

        125.    The Poultons restate and incorporate all of the statements and allegations contained

in paragraphs 1 through 68 in their entirety, as if fully rewritten herein.

        126.    “No person ... shall act as a … mortgage servicer … without first having obtained

a certificate of registration from the superintendent of financial institutions for the principal office

and every branch office to be maintained by the person for the transaction of business as a …

mortgage servicer ... in this state.” R.C. 1322.07(A).

        127.    SLS, as a mortgage servicer, is required to be registered with the Ohio Department

of Commerce, Division of Financial Institutions under R.C. 1322.

        128.    SLS is a registrant under R.C. 1322, as the Ohio Department of Commerce,

Division of Financial Institutions has issued SLS certificates of registration, License Nos.

RM.850107.000, RM.850107.001-BR, andRM.850107.002-BR, and RM.804016.025-BR. R.C.

1322.01(GG).

        129.    The Poultons are each a buyer as defined by the RMLA, as the Loan is serviced by

SLS, a mortgage servicer. R.C. 1322.01(H).

        130.    A registrant, licensee, or person required to be registered or licensed under R.C.

1322, et seq. cannot:

                (B) Make false or misleading statements of a material fact,
                    omissions of statements required by state or federal law, or false
                    promises regarding a material fact, through advertising or other

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                    means, or engage in a continued course of misrepresentations;
                    [or]
                (C) Engage in conduct that constitutes improper, fraudulent, or
                    dishonest dealings[.]

R.C. 1322.40.

         131.   SLS, in, inter alia, improperly servicing the Loan so as to create an improper,

unwarranted, and undisclosed balloon payment in excess of $27,314.76 upon the maturity of the

Loan, in demanding payment of such amounts, and in manufacturing a default threatening to

initiate foreclosure proceedings due to the Poultons’ inability to pay such unwarranted amounts,

engaged in a continued course of misrepresentations by making false or misleading statements of

a material fact. R.C. 1322.40(B).

         132.   SLS’s conduct, in, inter alia, improperly servicing the Loan so as to create an

improper, unwarranted, and undisclosed balloon payment in excess of $27,314.76 upon the

maturity of the Loan, in demanding payment of such amounts, in manufacturing a default, and

threatening to initiate foreclosure proceedings due to the Poultons’ inability to pay such

unwarranted amounts, constitutes violations of R.C. 1322.40(C).

         133.   SLS’s conduct caused the Poultons to suffer actual damages, as further described,

supra.

         134.   As a result of SLS’s conduct, SLS is liable to the Poultons for actual damages, as

further described, supra, as well as reasonable attorneys’ fees and costs incurred in connection

with this action and punitive damages. R.C. 1322.52.

         135.   A registrant, licensee, or person required to be registered or licensed under R.C.

1322, et seq., is required to comply with all duties imposed by other statutes or common law and:

                (3) Act with reasonable skill, care, and diligence; [and]




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              (4) Act in good faith and with fair dealing in any transaction,
                  practice, or course of business in connection with the brokering
                  or originating of any residential mortgage loan[.]

R.C. 1322.45(A).

       136.   A registrant, licensee, or person required to be registered or licensed under R.C.

1322 cannot waive or modify its duties under R.C. 1322.45(A). R.C. 1322.45(C).

       137.   SLS’s conduct in, inter alia, improperly servicing the Loan so as to create an

improper, unwarranted, and undisclosed balloon payment in excess of $27,314.76 upon the

maturity of the Loan, in demanding payment of such amounts, in manufacturing a default, and

threatening to initiate foreclosure proceedings due to the Poultons’ inability to pay such

unwarranted amounts, constitutes violations of R.C. 1322.45(A)(3)-(4).

       138.   As a result of SLS’s conduct, SLS is liable to the Poultons for actual damages, as

further described, supra, as well as reasonable attorneys’ fees and costs incurred in connection

with this action and punitive damages. R.C. 1322.45(D).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Daniela Poulton and Charles A. Poulton pray that this Court

grant judgment against Defendant Specialized Loan Servicing, LLC and award her the following:

       A.     Actual damages from Defendant Specialized Loan Servicing, LLC in an amount to

              be determined at trial for the allegations contained in Counts One through Four;

       B.     An award of statutory damages of Two Thousand Dollars ($2,000.00) from

              Defendant Specialized Loan Servicing, LLC for each violation of RESPA

              contained in Counts One and Two for a total of Four Thousand Dollars ($4,000.00);




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       C.     An award of statutory damages of One Thousand Dollars ($1,000.00) from

              Defendant Specialized Loan Servicing, LLC for the violations of the FDCPA

              contained in Count Three;

       D.     For punitive damages against Defendant Specialized Loan Servicing, LLC as to

              Count Four;

       E.     For attorney’s fees and costs as to Counts One through Four; and,

       F.     For such other relief which this Court may deem appropriate.

                                                    Respectfully submitted,

                                                    /s/Marc E. Dann
                                                    Marc E. Dann (0039425)
                                                    Daniel M. Solar (0085632)
                                                    Brian D. Flick (0081605)
                                                    Michael A. Smith Jr. (0097147)
                                                    DannLaw
                                                    15000 Madison Avenue
                                                    Lakewood, OH 44107
                                                    Telephone: (216)373-0539
                                                    Facsimile: (216)373-0536
                                                    notices@dannlaw.com



                                       JURY DEMAND

       Plaintiffs Daniela Poulton and Charles A. Poulton hereby request a trial by jury on all

issues, with the maximum number of jurors permitted by law.

                                                    /s/Marc E. Dann
                                                    Marc E. Dann (0039425)
                                                    Daniel M. Solar (0085632)
                                                    Brian D. Flick (0081605)
                                                    Michael A. Smith Jr. (0097147)
                                                    DannLaw




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